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                                        EXHIBIT A


1.      Joseph Agro
2.      Isaac Anderson, Individually and d/b/a Epiphany Lutheran Church
3.      George Ayers, Individually and d/b/a AOH Church of God, Inc.
4.      David Bell, Individually and d/b/a M. D. Bell Co., Inc.
5.      Laurence Bizette, Jr., Individually and d/b/a Antioch Family Church, Inc.
6.      Ed Boutwell, Individually and d/b/a New Beginnings Church of the Gulf Coast
7.      Vanna Breckenridge, Individually and d/b/a Ministry of New Beginnings
8.      Kathleen Brown, Individually and d/b/a Kathleen’s Fiber Art
9.      Darrell Bufford, Individually and d/b/a NaturScent/DBA Gold Seal Inc.
10.     Tanya Cain, Individually and d/b/a Dynasty Collection, Inc.
11.     Rhett Thomas Cates, Individually and d/b/a Rhett Thomas Cates, DDS
12.     Bessie Chance
13.     Dhaneshwar Cheddie
14.     Brian Chien, Individually and d/b/a B & K & Company, Inc. d/b/a B&KCO.
15.     Steven Ciolino, Individually and d/b/a C’s Discount Pharmacy
16.     Steven Ciolino, Individually and d/b/a Ciolino Pharmacy, Inc.
17.     Vanessa Coleman, Individually and d/b/a Zion Church of God in Christ
18.     Anthony Cox, Sr., Individually and d/b/a Westside Church of God in Christ
19.     Anthony Cox, Sr., Individually and d/b/a Life Giving Community Development Center
20.     J. Aaron Cundall, Individually and d/b/a IDEA America-Luscious Lures
21.     Robert Dauterive, Individually and d/b/a Bob Dauterive Enterprises
22.     Eric W. Day, III, Individually and d/b/a Eric W. Day, III, DDS
23.     Morris Denman, Individually and d/b/a Kingswood Baptist Church
24.     Leevones Dubose, Individually and d/b/a Bay Area Women Coalition, Inc.
25.     Andria Ebanks, Individually and d/b/a A. Ebanks Enterprize Cleaning Service
26.     Gary Elowsky
27.     Linda Evans, Individually and d/b/a White Apple Farms
28.     Grace Farris, Individually and d/b/a Farris Properties
29.     Joseph Ferguson, Individually and d/b/a CASA of Acadiana, LLC
30.     Leo Fox, Individually and d/b/a St. John AOH Church of God
31.     Jerry W. Freeman, Individually and d/b/a Cabinetry Sales & Design
32.     Timothy Hamon, Individually and d/b/a Christian Int’l Network of Prophetic Ministries
33.     Thomas Hamon, Individually and d/b/a Vision Church
34.     Julius Haston, Individually and d/b/a Walls of Salvation International Church
35.     Garrett Hebert, Individually and d/b/a Alex Enterprises
36.     Douglas Hightower, Individually and d/b/a Douglas W. Hightower, LLC
37.     Sylvia Hunter, Individually and d/b/a Forever Flowing Ministries Infant Center
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38.     Lucy Johnson, Individually and d/b/a Goudeau’s Healthmart Pharmacy
39.     Ross Johnson, Individually and d/b/a/ Tulane Memorial Baptist Church
40.     Herman Jones, Individually and d/b/a First Community Missionary
41.     John Paul Jones, Individually and d/b/a Jones Homes, LLC
42.     John Paul Jones, Individually and d/b/a Jones Builders, Inc.
43.     Dilip Keriwala, Individually and d/b/a Keriwala Motels, Inc., d/b/a America’s Best Suites
44.     Mary Rayford Kim
45.     Enrique Lang, Individually and d/b/a Fair Housing Agency of Alabama
46.     Sparkle Lewis
47.     Robert Lockhart, Individually and d/b/a Waterguard Technology Products
48.     Ronald Madere, Individually and d/b/a Ronald A. Madere, DDS
49.     Gerard J. Martin, Individually and d/b/a Gerard J. Martin, DDS
50.     Juan C. Melguizo, Individually and d/b/a Juan Melguizo, DDS
51.     Timothy Metcalf, Individually and d/b/a Deano’s Pizzarama, Inc.
52.     Timothy Metcalf, Individually and d/b/a M & M Management-LA Seafood House
53.     Candace Miller, Individually and d/b/a Van Eaton & Romero, Inc.
54.     Brook Morgan
55.     Leon Murray
56.     Laurence Norton, III, Individually and d/b/a Laurence T. Norton, III, DDS
57.     Tracey Norton
58.     Devin Oten, Individually and d/b/a Mighty Strength of Jesus Ministries
59.     Jesse Pate, Sr., Individually and d/b/a Family Enrichment (Tic-Tot Nursery)
60.     Jesse Pate, Sr., Individually and d/b/a Harvest Ripe Church
61.     Bimal Patel, Individually and d/b/a Sheenal Inc.
62.     John Peddrick
63.     Bradley Peterman, Individually and d/b/a Peterman Appraisal Services
64.     John Porter
65.     B. O. Richardson, Individually and d/b/a B. O. Richardson Real Estate
66.     Linda Riley
67.     Tanis Robinson, Individually and d/b/a C.A.’s House Bed & Breakfast
68.     Jesse Scott, Individually and d/b/a Bible Way Apostolic Church of God
69.     Kim Seaman, Individually and d/b/a Seaman & Associates
70.     B. R. Seymour, Individually and d/b/a First Pentecostal Church of Orange Grove Inc.
71.     Donald Shavers, Individually and d/b/a Apostolic Overcoming Holiness Church of Christ
72.     Gale Sheehan
73.     Sherman Shelton, Individually and d/b/a Firehouse Full Gospel Ministries
74.     Youn Shim, Individually and d/b/a Lafayette Korean Church
75.     Rajinder Singh, Individually and d/b/a Sunshine Imports, Inc.
76.     Chancey Smith, Individually and d/b/a True Praise Deliverance
77.     Chancey Smith, Individually and d/b/a True Praise Daycare
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78.     Roy Smith, Individually and d/b/a Roy L. Smith, DDS
79.     Mohammed Sopariwala, Individually and d/b/a Royal Bliss Linens
80.     Mohammed Sopariwala, Individually and d/b/a Royal Wireless Communications
81.     Chrysa Sparrow, Individually and d/b/a Bunnies & Bows
82.     Jerome St. Ann
83.     Morender St. Ann
84.     Williemae Stanberry, Individually and d/b/a Williemae Stanberry Real Estate Broker
85.     Charles Taylor, Individually and d/b/a Full Gospel Holiness Church
86.     Jim Taylor, Individually and d/b/a Marlow Floral Products
87.     Dhongak Tharling, Individually and d/b/a Buddhist Temple
88.     Craig Thibeault, Individually and d/b/a Theodore Mail, Ship & More
89.     Clyde Thomas, Individually and d/b/a Word of Deliverance Church
90.     Richard Thomas
91.     David Tuminello, Individually and d/b/a David Tuminello, DDS
92.     Rodolfo Vasquez
93.     James Vickers
94.     Jay Wang, Individually and d/b/a Value Travel Inn
95.     Gary Williams, Jr.
96.     James Williams, Individually and d/b/a James R. Williams Appraisals
97.     Elester Woods, Individually and d/b/a Back to the Bible Church
